
LATTIMORE, Judge.
Appellant was convicted in Criminal District Court No. 2 of Dallas county of receiving and concealing stolen property, and his punishment fixed at four years in the penitentiary.
The record is before ns without a statement of facts. The court overruled appellant’s application- for a continuance, which action cannot be reviewed in the absence of a bill of exceptions complaining thereof. There are a number of special charges which were requested and refused, the applicability of which could only he determined by us from an examination of the facts, and in the absence of a statement of facts we are unable to appraise the possible error in the refusal of such special charges. There are no formal bills of exception in the record.
Finding no error in the record, the judgment will be affirmed.

Affirmed.

